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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
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                                                                    :   DATE FILED: December 19, 2017
 DR. ALAN SACERDOTE, et al.,                                        :
                                                                    :
                                              Plaintiffs,           :
                                                                    :
                            -v-                                     :         16-cv-6284 (KBF)
                                                                    :
 NEW YORK UNIVERSITY,                                               :              ORDER
                                                                    :
                                              Defendant.            :
                                                                    :
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KATHERINE B. FORREST, District Judge:

        Defendant moved on December 4, 2017 to strike plaintiff’s jury demand.

(ECF No. 117.) Under the Local Rules, plaintiff’s opposition to that motion—if

any—was due to be filed by December 18, 2017. In any case, ERISA does not grant

a right to a jury trial. As such, this motion is GRANTED.

        SO ORDERED.

Dated:           New York, New York
                 December 19, 2017

                                                          ____________________________________
                                                               KATHERINE B. FORREST
                                                               United States District Judge
